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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
 DEBORAH LAUFER,                                 §
     Plaintiff,                                  §
                                                 §
 v.                                              §          Case No. 1:20-cv-00620-JRN
                                                 §
 MANN HOSPITALITY, LLC                           §
     Defendant.                                  §
               DEFENDANT’S PROPOSED OPPOSED BILL OF COSTS AND
                        MOTION FOR ATTORNEY’S FEES


TO THE HONORABLE U.S. DISTRICT JUDGE:

       COMES NOW, Defendant Mann Hospitality, LLC (hereinafter referred to as “Defendant”

or “Mann Hospitality”), and respectfully submits its Proposed Bill of Costs. Pursuant to Title 42

U.S.C. § 12205, and the Fifth Circuit decision in Deutsch v. Jesus Becerra, Inc., No. 16-50164 (5th

Cir.2016), Defendant is entitled to recover attorney’s fees as costs of litigation. Defendant is

submitting its bill of costs in accordance with FRCP 54(d)(2)(A) and local rule CV-54. Defendant

would show the Court as follows:

                                       I.   BACKGROUND

       1.       Ms. Deborah Laufer (hereinafter referred to as “Plaintiff” or “Laufer”), a person

with a physical disability and mobility impairments, filed an action against Defendant, for

declaratory and injunctive relief, attorneys’ fees, costs, and litigation expenses against Defendant

for violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §§12181, et seq.

(“ADA”).

       2.       Defendant obtained a Final Judgment against Plaintiff on October 1, 2020. See Dkt

16).
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                                    II. RELEVANT CASE LAW

       3.       Under the ADA statutes, attorney’s fees are authorized as costs of litigation, not

damages. The Court should award attorney’s fees to the prevailing party. “In any action or

administrative proceeding commenced pursuant to this chapter, the court or agency, in its

discretion, may allow the prevailing party, other than the United States, a reasonable attorney’s

fee, including litigation expenses, and costs, and the United States shall be liable for the foregoing

the same as a private individual.” See Title 42 USC §12205.

       4.       The Supreme Court has upheld attorney’s fees as valid costs of litigation that can

be awarded to the prevailing party as noted in Buckhannon v. West Virginia, 532 U.S. 598 (2001).

To be a prevailing party and obtain fees, there must be a judgment on the merits and the attorney’s

fees must be authorized by statute. A prevailing party is generally a party who succeeds on any

significant issue in the litigation and that success provides some benefit that had been sought by

the party. Davidson v. Veneman, 317 F.3d 503, 506 (5th Cir.2003). A plaintiff who obtained a

permanent injunction is generally considered to be a prevailing party. Lefemine v. Wideman, 133

S. Ct. 9 (2012).

       5.       When a statute defines ‘costs’ to include attorney’s fees, the fees are not damages.

Marek v. Chesny, 473 U.S. 1, 9 (1985). In the United States, a prevailing party is not ordinarily

entitled to collect attorney’s fees from the losing party. Alyeska Pipeline Serv. V. Wilderness Soc’y,

421 U.S. 240, 247 (1975). Despite the American Rule, a prevailing party may be entitled to

attorney’s fees if the fees are specifically provided for by statute. Summit Valley Indus. V. Local

112, United Bhd. of Carpenters & Joiners, 456 U.S. 717, 721 (1982). Statutes do permit the court

to award attorney fees to the prevailing party in an ADA case. See Title 42 USC §2000e-5(k) and

42 USC §12205.




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       6.       A party can claim attorney fees in its complaint or by motion. If attorney fees are

recoverable as costs of suit, the party does not need to include a demand for them in the complaint.

See FRCP 54(d)(2)(A). Instead, the party must file a motion requesting them. Id. A party must

file a motion for attorney fees within 14 days after entry of judgment. See FRCP 54(d)(2)(A).

       7.       Most claims for attorney’s fees are as costs, not damages. Budinich v. Becton

Dickinson & Co., 486 U.S. 196, 200 (1988). A party seeking attorney fees as costs is usually

seeking fees for work done during the case. Rissman v. Rissman, 229 F.3d 586, 588 (7th Cir.2000).

       8.       It is far reaching precedent that the relief available under the Americans with

Disabilities Act includes declaratory judgment, injunctive relief, attorney’s fees as costs, and costs

of litigation. The ADA is considered civil rights litigation. Numerous court decisions support the

precedent of the ADA as civil rights litigation with the corresponding relief. The Fifth Circuit

notes, “The ADA expressly provides that the remedies, procedures, and rights available under the

Rehabilitation Act also apply to the ADA, and thus jurisprudence interpreting either statute is

applicable to both. Hainze v. Richards, 207 F.3d 795, 799 (5th Cir. 2000), cert. denied, 531 U.S.

959, 121 S.Ct. 384, 148 L.Ed.2d 296 (2000).” See Frame v. Arlington, 55 F.3d 432, 435 (5th

Cir.2009).

       9.       The Supreme Court in Gorman notes, “Thus, the remedies for violations of § 202

of the ADA and § 504 of the Rehabilitation Act are coextensive with the remedies available in a

private cause of action brought under Title VI of the Civil Rights Act of 1964, 42 U. S. C. § 2000d

et seq., which prohibits racial discrimination in federally funded programs and activities.” Barnes

v. Gorman, 536 U.S. 181, 185 (2002). The remedies available under Title VI include: declaratory

judgment, injunctive relief, attorney’s fees as costs, and costs of litigation.




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        10.       The accompanying civil rights statutes (of which the Americans with Disabilities

Act are a part of) authorize attorney’s fees as costs. Title 42 USC §12205 reads, “In any action or

administrative proceeding commenced pursuant to this chapter, the court or agency, in its

discretion, may allow the prevailing party, other than the United States, a reasonable attorney’s

fee, including litigation expenses, and costs, and the United States shall be liable for the foregoing

the same as a private individual.” See Title 42 USC §12205.

        11.       In Gorman, the Supreme Court ruled that punitive damages are not an available

remedy under the ADA. However, Plaintiff in the instant case never requested punitive damages.

Plaintiff only requests a declaratory judgment, injunctive relief, attorney’s fees as costs, and costs

of litigation. If the Court awards injunctive relief, the Plaintiff would also be entitled to attorney’s

fees.

        12.       On the issue of attorney’s fees and civil rights litigation, the Supreme Court notes,

“It follows that one who succeeds in obtaining an injunction under that Title should ordinarily

recover an attorney's fee unless special circumstances would render such an award unjust. Because

no such circumstances are present here, the District Court on remand should include reasonable

counsel fees as part of the costs to be assessed against the respondents.” Newman v. Piggie Park

Enterprises, 390 U.S. 400, 402 (1968). Newman is Supreme Court precedent that allows attorney’s

fees as costs of litigation in civil rights cases.

        13.       The Fifth Circuit in Deutsch v. Jesus Becerra, Inc., No. 16-50164 (5th Cir.2016)

has ruled that the District Court should award attorney’s fees in an ADA case, as an ADA case is

a type of Civil Rights litigation.




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                                              III. COSTS

      14.       The amount of the claim is a sum certain. The amount due is $8,610.00. The amount

is calculated based on the table that follows:

                                              Attorney’s Hours

    DATE                    WORK PERFORMED                                  ATTORNEY      HOURS

                 Discussion w/ Client. Review and analyze                   Pimal Patel      .8
 07/09/2020      Original Complaint. Review and Retrieve
                 Case Docket.

                 Phone Discussion w/ Client regarding                       Pimal Patel     1.1
                 settlement posture. Phone Discussion w/ P.
 07/14/2020
                 Cullen. Correspondence to/from P. Cullen.
                 Draft Motion to Extend to Respond.

                 Review Settlement Proposal by P. Cullen.                   Pimal Patel     2.1
                 Memo to Client Regarding Settlement.
                 Research and Analyze Standing Issues.
 07/14/2020
                 Retrieve various Court filings in Laufer’s
                 cases against similar lodging owner.
                 Discussion w/ Client.

                 Research regarding compliance for hotels                   Pimal Patel      .7
                 with the ADA that have been constructed
 08/13/2020
                 before ADA enactment. Begin skeleton Draft
                 of Motion to Dismiss.

                 Correspondence to/from P. Cullen. Review                   Pimal Patel      .2
 08/17/2020
                 Proposed Scheduling Order.

                 Phone    Discussion   w/     P.   Cullen.                  Pimal Patel      .7
 08/18/2020      Correspondence to/from P. Cullen. Review
                 DOJ Guidance. Phone Discussion w/ Client.

                 Review case file, original petition, caselaw          James McMartin       1.8
 08/18/2020      research, motion to dismiss based on Fed. R.
                 Civ. P. 12(b)(1) and 12(b)(6).

                 Review/Revise Motion to Dismiss. Strategy                  Pimal Patel     2.2
 08/19/2020
                 discussion w/ Client.




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                 Finalize Motion to Dismiss and Proposed                    Pimal Patel     3.7
 08/20/2020      Order and Prepare Exhibits. Prepare for
                 Filing.

 08/25/2020      Review Response to Motion for Leave.                       Pimal Patel      .2

 08/26/2020      Reviewed Docket Entry and Court Order.                     Pimal Patel      .1

                 Review Docket Entry. Analyze Plaintiff’s                   Pimal Patel      .5
 09/01/2020      Statement and Memorandum in Opposition to
                 Motion to Dismiss.

                 Research issues regarding in Memorandum In                 Pimal Patel      .9
 09/03/2020
                 Opposition to Motion to Dismiss.

 09/04/2020      Begin Skeleton Reply to Motion to Dismiss                  Pimal Patel      .5

                 Research and review caselaw supporting                James McMartin        .7
 09/07/2020      Defendant's Response to Memo in Opposition
                 to Motion to Dismiss.

                 Revise and edit Defendant's Response to               James McMartin       2.8
 09/08/2020      Defendant's Memorandum in Opposition of
                 Motion to Dismiss.

                 Review and Finalize Reply to Response to                   Pimal Patel      .9
 09/08/2020      Motion to Dismiss. Prepare for Filing. Phone
                 Discussion w/ Client.

                 Review Docket Entry and Court Order                        Pimal Patel      .5
                 regarding Motion to Dismiss. Phone
 09/30/2020
                 Discussion w/ Client. Phone Discussion w/ P.
                 Cullen.

 10/05/2020      Review Notice of Appeal and Docket Entry.                  Pimal Patel      .1

                 Correspondence to/from P. Cullen. Review                   Pimal Patel      .8
                 Settlement Proposal and analysis of Fifth
 10/06/2020
                 Circuit regarding appeal issues purported and
                 raised by P. Cullen.

                 Phone Discussion w/ Client. Correspondence                 Pimal Patel      .9
 10/07/2020
                 to/from P. Cullen.

                 Draft of Defendant's Proposed Bill of Costs                Pimal Patel     1.4
 10/13/2020
                 and Motion for Attorneys' Fees




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                 Draft Proposed Order and Affidavit for Draft               Pimal Patel           1.0
 10/13/2020      of Defendant's Proposed Bill of Costs and
                 Motion for Attorney Fees

                                       Summary of Expenses


 Total Attorney Fees      24.6 Attorney Hours multiplied by $350 per hour                 $8,610.00

      15.       Defendant’s counsel has included an affidavit about the costs as Exhibit A.

                           IV. AS APPLIED TO THE INSTANT CASE

      16.       Defendant has met the requirements to obtain attorney’s fees in the instant case.

The ADA is designed to allow the award to a prevailing party for reasonable attorney fees. See 42

U.S.C. § 12205. A prevailing defendant may not receive fees “unless a court finds that [the plaintiff's]

claim was frivolous, unreasonable, or groundless, or that the plaintiff continued to litigate after it

clearly became so.” No Barriers, Inc. v. Brinker Chili's Texas, Inc., 262 F.3d 496, 498 (5th Cir.

2001) citing Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 422, 98 S.Ct. 694, 54 L.Ed.2d

648 (1978).

      17.       Here, Plaintiff filed its suit against Defendant despite failing to establish that she

intents to patronize Defendant’s business. “Rather it appears that [Plaintiff] and her attorney’s sole

intent in this litigation is to bully the Defendant into handing over as much money as possible,

completely without a relationship with the business.” See Order on Defendant’s Motion to Dismiss

(Dkt 15).

                                       V. CONCLUSION
      18.       For the preceding reasons, the Defendant requests that the Court issue an order

awarding costs of litigation to the Defendant, as allowed by statute, Supreme Court precedent,

and Fifth Circuit precedent.

                                          PRAYER FOR RELIEF



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        THEREFORE, Mann Hospitality respectfully requests this Court grant the Motion and

award Attorney’s Fees as part of the Judgment against Plaintiff Deborah Laufer in accordance with

the Americans with Disabilities Act, 42 USC §§12181, et seq.

Date: October 14, 2020                                  Respectfully submitted,

                                                        PATEL PC
                                                        /s/ Pimal A. Patel

                                                        Pimal A. Patel
                                                        pimal@patelpc.com
                                                        Texas Bar No. 24102335
                                                        7324 Southwest Freeway, Suite 560
                                                        Houston, Texas 77074
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                                                        Facsimile: (713) 456-2521
                                                        ATTORNEY FOR DEFENDANT
                                                        MANN HOSPITALITY, LLC




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                                  CERTIFICATE OF SERVICE

        I hereby certify, that on October 14, 2020, I electronically filed the foregoing document

with the Clerk of Court for the U.S. District Court, Western District of Texas, Austin Division

using the electronic filing system of the court. The electronic filing system sent a “Notice of

Electronic Filing” to the following attorney of record:

                                       Phillip Michael Cullen III, Esq.,
                                      621 S. Federal Highway, Suite 4
                                        Ft. Lauderdale, Florida 33301
                                            CULLENIII@aol.com
                                         Telephone: (954) 462-0600
                                      ATTORNEY FOR PLAINTIFF
                                            DEBORAH LAUFER


                                                        /s/ Pimal A. Patel
                                                        Pimal A. Patel

                               CERTIFICATE OF CONFERENCE

        I hereby certify, that on October 6, 2020 and October 7, 2020, I conferred with Counsel for

Plaintiff regarding the relief requested herein. Plaintiff Counsel has indicated it believes Defendant

is not entitled to attorney fees. On October 14, 2020, I attempted to confirm Plaintiff’s Counsels

opposition to this Motion. As of time of filing, Plaintiff Counsel has yet to confirm its opposition.

Based on the October 6, 2020 and October 7, 2020 communications with Plaintiff Counsel, the

undersigned assumes Plaintiff is Opposed to the relief requested herein.



                                                        /s/ Pimal A. Patel
                                                        Pimal A. Patel




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